              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:21-cv-00067-MR


DMARCIAN, INC.,                  )
                                 )
                     Plaintiff,  )
                                 )
      vs.                        )              ORDER
                                 )
DMARC ADVISOR BV,                )
f/k/a dmarcian Europe BV,        )
                                 )
                     Defendant.  )
________________________________ )

      THIS MATTER is before the Court on remand from the United States

Court of Appeals for the Fourth Circuit for further consideration of the amount

of sanctions to be imposed for the Defendant’s contempt in violating the

Preliminary Injunction entered in this matter. dmarcian, Inc. v. dmarcian

Europe BV, 60 F.4th 119 (2023). Also pending before the Court are the

Defendant’s Motion to Dissolve or Modify Preliminary Injunction [Doc. 220]

and the Plaintiff’s Motion Pursuant to Fed. R. Civ. P. Rule 60 Seeking

Modification of the Preliminary Injunction [Doc. 291]. The Court held a

hearing on these issues on August 23, 2024. [See Doc. 386: Hrg. Transcript].




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I.    PROCEDURAL BACKGROUND

      On March 12, 2021, the Plaintiff dmarcian, Inc. filed its original

Complaint1 for copyright and trademark infringement and related state claims

against the Defendant DMARC Advisor BV (formerly known as dmarcian

Europe BV). [Doc. 1]. On March 25, 2021, the Plaintiff filed a motion for a

temporary restraining order and preliminary injunction. [Doc. 6]. On April 19,

2021, the Defendant moved to dismiss this matter for lack of personal

jurisdiction and forum non conveniens. [Doc. 22].

      On May 26, 2021, this Court entered an Order denying the Defendant’s

motion to dismiss and granting the Plaintiff’s motion for preliminary

injunction. [Doc. 39]. In granting the motion for preliminary injunction, the

Court specifically found that the Plaintiff was likely to succeed on the merits

of its claims for violations of the Copyright Act, 17 U.S.C. §§ 101, et seq.

[Doc. 39 at 46-49]; its claim for trademark infringement under the Lanham

Act, 15 U.S.C. §§ 1051, et seq. [id. at 49-56]; its claim for violation of trade

secrets arising under the Defense of Trade Secrets Act of 2016 (“DTSA”), 18

U.S.C. §§ 1836, 1839, et seq. [id. at 57-63]; and its claims arising under

North Carolina law for tortious interference with contract and with prospective


1 The Complaint was later amended, with the most recent amendment made on June 23,

2021. [Doc. 51].
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economic advantage [id. at 63-66]. The Court declined to address the

Plaintiff’s other claims, including its claims for false designation of origin,

common law trademark, and unfair and deceptive trade practices under N.C.

Gen. Stat. § 75-1.1, et seq. [Id. at 66].

      The decretal portion of the Court’s Order enjoined the Defendant from

engaging in the following conduct:

            (1) providing services to any customers located
            outside of Europe, Africa, or Russia, except for the
            six customers detailed in the Defendant’s Brief on
            Proposed Voluntary Commitments [Doc. 32 at 4 n.3];

            (2) providing access to any of its websites to IP
            addresses from countries outside of Europe, Africa,
            or Russia. The Defendant shall inform website
            visitors from outside of those areas that it does not
            create new accounts in that region and shall direct
            those customers to contact dmarcian, Inc. for
            services     through     the    Plaintiff’s   website
            https://dmarcian.com;

            (3) making changes to the copyrighted software
            except as specifically and expressly allowed or
            directed by this Order;

            (4) using the Plaintiff’s trademark in any manner
            unless such use is accompanied by a statement
            which reads: “This trademark is the trademark of
            dmarcian, Inc. This website is produced and
            generated and posted by dmarcian Europe BV, which
            is a different entity from dmarcian, Inc. This
            trademark is being used at this location without the
            permission of dmarcian, Inc. and only pursuant to the
            terms of a court order allowing its temporary use
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            during litigation between dmarcian, Inc. and
            dmarcian      Europe    BV….      [citing further
            formatting/placement requirements];

            (5) displaying any website with the “dmarcian” name
            unless that website includes a statement that “The
            dmarcian software was originally developed by
            dmarcian, Inc. This is not the website of dmarcian,
            Inc. The website of dmarcian, Inc. can be found at
            https://dmarcian.com.”....       [citing      further
            formatting/placement requirements];

            (6) redirecting, encouraging, or allowing any
            customer to change its service provider or payment
            recipient from dmarcian, Inc. to dmarcian Europe,
            BV;

            (7) making any public statement about dmarcian, Inc.
            except as expressly allowed or directed herein.

[Doc. 39 at 75-76]. The Court further required the Defendant to make certain

financial disclosures on an ongoing basis. [Id. at 76-77].

      The Court subsequently amended paragraph (6) of the decretal portion

of the Preliminary Injunction to read as follows:

            (6) redirecting, encouraging, or allowing any
            customer to change its payment recipient from
            Plaintiff to the Defendant. To the extent that the
            current service provider for any customer is different
            from the payment recipient for that customer, the
            party providing services to that customer is prohibited
            from unilaterally terminating or otherwise altering
            those services without express permission from the
            Court.


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[Doc. 82 at 3].

      The Defendant appealed the Preliminary Injunction on June 25, 2021.

[Doc. 52]. While that appeal was pending, the Court held the Defendant in

civil contempt of the Preliminary Injunction for continued use of the Plaintiff’s

trademark by redirecting website traffic for various “dmarcian” domain names

to the Defendant’s website without posting the relevant disclaimers that were

required by the Preliminary Injunction.2 [Doc. 80 at 26]. The Court ultimately

determined that the Defendant should pay $335,000.00 to the Plaintiff as a

sanction for its contemptuous conduct. [Doc. 124]. The Defendant appealed

these Orders, and those appeals were consolidated with the original appeal

of the Preliminary Injunction. [Docs. 92, 131].

      On appeal, the Defendant argued that the Preliminary Injunction

should be vacated, inter alia, because this Court erroneously applied United

States and North Carolina law extraterritorially, thereby violating the

presumption against extraterritoriality. The Court of Appeals rejected this

argument with respect to all the Plaintiff’s claims, noting that “[t]he relevant

law all concern [the Defendant’s] conduct, which notably touched American


2 The Court also found the Defendant in contempt of the Preliminary Injunction on June

10, 2022, for failing to make proper financial disclosures as required by the Preliminary
Injunction. [Doc. 125]. The Defendant was given seven days to purge that contempt,
which the Defendant did. [Doc. 127].
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customers.” dmarcian, Inc. v. dmarcian Europe BV, 60 F.4th 119, 138 (2023).

The Court of Appeals thus affirmed this Court’s Order denying the motion to

dismiss and granting the preliminary injunction in all respects. Id. at 136-37,

147. The Court of Appeals further held that this Court was justified in issuing

a contempt sanction for the Defendant’s continued use of the Plaintiff’s

trademarks, but it vacated the contempt order and remanded for “a more

thorough examination of the sanction amount.” Id. at 148. The Court of

Appeals issued its mandate on March 10, 2023. [Doc. 172].

      Following remand, the Court directed the parties to file supplemental

briefs regarding the contempt sanction. The parties thereafter filed their

supplemental briefs and supporting declarations. [See Docs. 180, 181, 183,

184, 191, 192, 200]. While this matter was under advisement, the Plaintiff

filed a motion asking this Court to issue a preliminary antisuit injunction

precluding the Defendant from proceeding further with the Dutch

proceedings through the trial on the merits in this action and/or require the

Defendant to correct certain misstatements to the Dutch Court. [Doc. 185].

The Court held a hearing on the Plaintiff’s motion on June 27, 2023. At that

hearing, the Court announced that it would require the Defendant to provide

a corrective statement to the Dutch Court no later than July 3, 2023. [Doc.

218: Tr. at 44]. The Court further advised the parties that it would hold in
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abeyance the issue of the contempt sanction that had been remanded

pending the Defendant’s compliance with the Court’s new order regarding

the correction of misstatements to the Dutch Court. [Id. at 51 (“[A]s far as

any sanctions are concerned, I want to hold that in abeyance because I want

to see the degree to which the defendant complies with this order.”)].

      While these matters were pending, the Defendant moved for summary

judgment on the Plaintiff’s claims. [Doc. 294]. On May 1, 2024, the Court

entered an Order granting the Defendant’s motion in part and dismissing the

Plaintiff’s claims for copyright infringement. [Doc. 360]. In all other respects

the motion was denied. [Id.]. After a number of continuances, this matter is

scheduled for trial during the March 2025 trial term. [See Text-Only Order

entered Oct. 7, 2024].

      Both parties have moved to modify the Preliminary Injunction, to

varying degrees. The Defendant argues that changed factual circumstances

and recent developments in the law require that the injunction be dissolved,

or at least modified to limit its extraterritorial application. [Doc. 220]. The

Plaintiff moves for an expansion of the injunction to prohibit the Defendant

entirely from using the source code/SaaS platform that the Defendant

obtained from the Plaintiff in January 2021. The Court held a hearing on

these motions, as well as other matters which are addressed by way of a
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separate Order, on August 23, 2024. Having been fully briefed and argued,

these matters are ripe for disposition.

II.   STANDARD OF REVIEW

      “In order to prevail on a motion to modify, the movant must establish a

change in circumstances that would make the original preliminary injunction

inequitable. The motion does not force the trial judge to permit relitigation of

his original determination of the injunction and should not serve as an avenue

of untimely review of that determination.” Multi-Channel TV Cable Co. v.

Charlottesville Quality Cable Operating Co., 60 F.3d 823, 1995 WL 406612,

at *2 (4th Cir. 1995) (unpublished table decision) (quoting with approval Favia

v. Ind. Univ. of Penn., 7 F.3d 332, 337 (3d Cir. 1993)). In seeking a dissolution

or modification of a preliminary injunction, the moving party must

demonstrate “significant changes in fact, law, or circumstance since the

previous ruling.” see Gooch v. Life Investors Ins. Co. of Am., 672 F.3d 402,

414 (6th Cir. 2012); (quoting Gill v. Monroe Cty. Dep't of Soc. Servs., 873

F.2d 647, 648-49 (2d Cir. 1989)); Stone v. Trump, 400 F. Supp. 3d 317, 332

(D. Md. 2019) (holding that movant must establish “a significant change

either in factual conditions or in law” that makes “enforcement of the

[preliminary injunction] ... detrimental to the public interest”).       “[M]inor

changes in the facts or law usually are insufficient.”            Am. Coll. of
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Obstetricians & Gynecologists v. United States Food & Drug Admin., 506 F.

Supp. 3d 328, 338 (D. Md. 2020) (quoting Multi-Channel TV Cable, 1995 WL

406612, at *3). The decision to dissolve or modify a preliminary injunction is

a matter with the Court’s sound discretion. Conservation Council of N.C. v.

Costanzo, 528 F.2d 250, 252 (4th Cir. 1975).

III.   DISCUSSION

       A.     Modification of Amended Preliminary Injunction

       In 2023, the United States Supreme Court decided the foreign reach

of the Lanham Act in Abitron Austria GmbH v. Hetronic International, Inc.,

600 U.S. 412 (2023). In that case, the Supreme Court noted that there is a

“presumption against application to conduct in the territory of another

sovereign.”    Id. at 417 (citation and internal quotation marks omitted).

Applying this presumption against extraterritoriality requires a two-step

analysis. First, the Court must determine whether Congress intended for the

statute to apply to foreign conduct. Id. at 417-18. If the statute is not

extraterritorial, the Court then turns to the second step, which requires

identifying the “focus of [the] statute” and determining “whether the conduct

relevant to that focus occurred in United States territory.”        Id. at 418

(emphasis in original). As the Supreme Court explained:


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            Step two is designed to apply the presumption
            against extraterritoriality to claims that involve both
            domestic and foreign activity, separating the activity
            that matters from the activity that does not. After all,
            we have long recognized that the presumption would
            be meaningless if any domestic conduct could defeat
            it. Thus, if the conduct relevant to the statute's focus
            occurred in the United States, then the case involves
            a permissible domestic application of the statute,
            even if other conduct occurred abroad. And if the
            relevant conduct occurred in another country, then
            the case involves an impermissible extraterritorial
            application regardless of any other conduct that
            occurred in U. S. territory.

Id. at 419 (internal citations and quotation marks omitted). Applying this

framework to the Lanham Act, the Court readily concluded that Sections 1114

and 1125(a)(1) of the Lanham Act are not extraterritorial in scope. Id. at 419-

20. The Court therefore moved to the second part of the inquiry, i.e.,

determining the focus of the asserted Lanham Act claim and determining

whether the conduct relevant to that focus occurred in the United States. Id.

On this point, the Court found that “[t]he ultimate question regarding

permissible domestic application turns on the location of the conduct relevant

to the focus,” which in the case of trademark infringement, “is infringing use

in commerce, as the [Lanham] Act defines it.” Id. at 422 (emphasis added).

Accordingly, the Court concluded that § 114(1)(a) and § 1125(a)(1) “extend



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only to claims where the claimed infringing use in commerce is domestic.”

Id. at 415.

      Here, the conduct that this Court found to support the issuance of the

Amended Preliminary Injunction involved, at least in part, conduct within the

United States. [See Doc. 39 at 52-53]. Specifically, the Defendant’s website

included an option for customers “in the Americas,” at least one U.S.

customer was enticed to change platforms, and the Defendant’s false data

breach message went directly to U.S. customers. [Id.]. This conduct is

sufficient under Abitron to support a continued injunction against the

Defendant, at least with respect to customers in the United States.

Accordingly, the Court will modify paragraphs 4 and 5 of the decretal portion

of the Amended Preliminary Injunction to read as follows:

              4.    Using the Plaintiff’s trademark in any manner
              in the United States or on any websites which are
              accessible to IP addresses from the United
              States, unless such use is accompanied by a
              statement . . . .

              5.   Displaying any website with the “dmarcian”
              name which is accessible to IP addresses from
              the United States, unless that website includes a
              statement . . . .3

3 The Plaintiff urges the Court to modify this language to also include any websites with

the “dmarcian” name which are accessible “through other conduct in the United States,”
such as the use of a foreign VPN. The Court declines to include such limitation, as it
would be impossible for the Defendant to regulate such access by consumers.
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      The remainder of the decretal paragraphs of the Amended Preliminary

Injunction remain unaffected by Abitron. These provisions, respectively,

enjoin the Defendant from: (1) providing services to customers outside a

prescribed territory; (2) providing access to the Defendant’s website outside

a prescribed territory; (3) making changes to the software; and (6)

redirecting, encouraging, or allowing any customer to change its payment

recipient from the Plaintiff to the Defendant. [Doc. 82]. While the Plaintiff’s

trademark claims have been limited to only infringement occurring in

domestic conduct, and the Plaintiff’s copyright claims have been dismissed,

paragraphs (1), (2), (3), and (6) of the Court’s decretal provisions (as

amended) continue to be supported by the Plaintiff’s trade secret claims

under the DTSA. These provisions remain necessary to protect the Plaintiff

in relation to the Defendant’s use of a source code which includes the

Plaintiff’s trade secrets.

      To the extent that any of these other paragraphs have extraterritorial

application, such application is permissible under the DTSA, which plainly

and expressly instructs that it applies to “conduct occurring outside the

United States if . . . an act in furtherance of the offense was committed in the

United States.”    See 18 U.S.C. § 1837(2).       In granting the preliminary

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injunction, this Court found that the Defendant committed at least two acts

within the United States: (1) the Defendant originally gained access to the

Plaintiff’s trade secrets through data stored on servers within the United

States and (2) the Defendant likely facilitated the use or disclosure of these

trade secrets within the United States. The Fourth Circuit affirmed these

findings on appeal. dmarcian, Inc. v. dmarcian Eur. BV, 60 F.4th 119, 141-42

(4th Cir. 2023).   In light of the DTSA’s clear instructions regarding the

application to foreign conduct, the Court concludes that Abitron does not

impact the applicability of paragraphs (1)-(3) and (6) of the decretal portion

of the Amended Preliminary Injunction.

      Paragraph (3), however, does require some further modification. That

portion of the Amended Preliminary Injunction enjoins the Defendant from

“making changes to the copyrighted software except as specifically and

expressly allowed or directed by this Order.” [Doc. 82 at 2] (emphasis

added).   The dismissal of the Plaintiff’s copyright claims on summary

judgment obviates the need for injunctive relief with respect to the Plaintiff’s

copyright ownership in the source code. However, the Plaintiff still has a

viable DTSA claim based on the source code being a trade secret.

Accordingly, paragraph 3 will be modified to enjoin the Defendant from


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making changes to the “trade secret source code” except as specifically and

expressly allowed or directed by the Court.

     The Defendant makes additional arguments in support of its contention

that the injunction should be dissolved in its entirety.       The Defendant,

however, had the opportunity to appeal the Amended Preliminary Injunction,

and it was upheld in all respects.      Thus, save for the minor changes

mandated by the Abitron decision, the Court finds no basis to dissolve or

further modify the Amended Preliminary Injunction.

     The Plaintiff requests that the Court further expand the injunction to

enjoin the Defendant using the source code at all and from interfering with

customer relationships or otherwise making false statements regarding this

action or the Dutch litigation. [See Doc. 291]. In the injunction order, the

Court did not fully restrain the Defendant from use of the source code in an

effort to preserve the status quo between the parties. The Court declines to

disturb that status quo now. As for the Plaintiff’s request regarding customer

interference and false statements, the Court finds that the Amended

Preliminary Injunction adequately addresses such conduct. Accordingly, the

Plaintiff’s request for an expansion of the Amended Preliminary Injunction is

therefore denied.


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      B.     Contempt Sanctions on Remand

      The Court previously held the Defendant in civil contempt of the

Preliminary Injunction for continued use of the Plaintiff’s trademark by

redirecting website traffic for various “dmarcian” domain names to the

Defendant’s website without posting the relevant disclaimers that were

required by the Preliminary Injunction. [Doc. 80 at 26]. The Court imposed

a civil contempt sanction of $5,000.00 for each day after the entry of the

Preliminary Injunction that the Defendant continued to use dmarcian.eu,

dmarcian.nl,    dmarcian.co.uk,       dmarcian.be,     dmarcian.es,      dmarcian.fr,

dmarcian.at, dmarcian.frl, dmarcian.io, dmarcian.jp, dmarcian.hk, or any

other website featuring the trademark “dmarcian” in its domain name. [Id.].

      These offending websites, however, were not accessible using IP

addresses from the United States.4 As such, the basis for the civil contempt

sanctions—i.e., the continued use of the Plaintiff’s trademark—occurred only

extraterritorially. Now that the Supreme Court has held that the Lanham Act

has no extraterritorial application, the basis for the Court’s imposition of a




4 As explained by the parties, such websites could be accessed by someone in the United

States by, for example, using a VPN in a foreign country. As noted supra, whether an
individual consumer decides to use such methods to access foreign websites is outside
of the control of the Defendant.
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civil contempt sanction for the use of the trademark in the domain names of

these websites is called into question.

      It is true that a party must comply with a court’s order, even if it is

ultimately determined to have been entered in error. McLean v. Central

States, Southeast and Southwest Areas Pension Fund, 762 F.2d 1204, 1210

(4th Cir. 1985) (“Orders of the court must be promptly complied with, absent

a stay, for appeal is the remedy for decisions believed to be erroneous.”).

And, where criminal contempt is found, any sanction imposed therefor will

continue to stand even if the underlying order is reversed. Id. When a

sanction is imposed for a finding of civil contempt, however, “[t]he right to

remedial relief falls with an injunction which events prove was erroneously

issued.” United States v. United Mine Workers, 330 U.S. 258, 295 (1947);

see also McLean, 762 F.2d at 1210 (“Although a criminal contempt stands

even if the underlying order is reversed, reversal of the underlying order

ordinarily invalidates any civil contempt sanctions predicated thereon.”).

Because the Lanham Act does not have extraterritorial application, and the

Defendants’ misuse of the Plaintiff’s trademark in the domain names of

certain websites occurred outside of the United States, the civil contempt

sanction is no longer valid. Accordingly, the civil contempt finding is vacated,

and no civil contempt sanction will be imposed against the Defendant.
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     IT IS, THEREFORE, ORDERED that:

     (1)   The Court’s finding of civil contempt is VACATED, and no civil

contempt sanction shall be imposed against the Defendant for the civil

contempt identified in the Court’s August 11, 2021 Order [Doc. 80];

     (2)   The Defendant’s Motion to Dissolve or Modify Preliminary

Injunction [Doc. 220] is GRANTED IN PART and DENIED IN PART, and an

amended injunction shall be entered contemporaneously herewith; and

     (3)   The Plaintiff’s Motion Pursuant to Fed. R. Civ. P. Rule 60 Seeking

Modification of the Preliminary Injunction [Doc. 291] is DENIED.

     IT IS SO ORDERED.




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